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     Beauty, Inc.
   8
                           UNITED STATES DISTRICT COURT
   9
          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  10
  11
       MANNA KADAR BEAUTY, INC.,             Case No. 8:21-cv-00595-JLS-ADS
  12
                 Plaintiff,                  FIRST AMENDED COMPLAINT
  13                                         FOR:
            v.
  14                                          (1) DECLARATORY JUDGMENT
     EVANSTON INSURANCE                       (2) BAD FAITH —
  15 COMPANY,                                UNREASONABLE FAILURE TO
                 Defendant.                  DEFEND
  16
                                             The Hon. JOSEPHINE L. STATON
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                                                            Case No. 8:21-cv-00595-JLS-ADS
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   1 Plaintiff Manna Kadar Beauty, Inc. (“MKB”) alleges as follows:
   2                          I.    NATURE OF THE ACTION
   3        1.     In this action, MKB seeks a declaratory judgment that a Commercial
   4 General Liability insurance policy (the “Policy”) that Evanston Insurance Company
   5 (“Evanston”) issued to MKB establishes coverage for an underlying cross-demand
   6 for arbitration brought by FabFitFun (“FFF”) against MKB. The underlying
   7 arbitration is captioned Manna Kadar Beauty, Inc. v. FabFitFun, Inc., AAA
   8 Arbitration No. 01-19-0003-0245 (the “Arbitration”).
   9        2.     In the underlying arbitration, FFF has alleged (without merit) that
  10 MKB’s Charcoal Body Scrub (the “Scrub”) caused personal injuries. FFF’s claims
  11 in the Arbitration are covered under the Policy. The Policy provides: “We will pay
  12 those sums that the insured becomes legally obligated to pay as damages because of
  13 ‘bodily injury’ or ‘property damage’ to which this insurance applies.” (Policy §
  14 I.1.a.) Importantly, the Policy provides, “[w]e will have the right and duty to defend
  15 the insured against any ‘suit’ seeking those damages.” (Ibid.; emphasis added.)
  16        3.     Moreover, under California law, the insurer has a broad duty to defend.
  17 For example, “that the precise causes of action pled by the third party complaint
  18 may fall outside policy coverage does not excuse the duty to defend where, under
  19 the facts alleged, reasonably inferable, or otherwise known, the complaint could
  20 fairly be amended to state a covered liability.” (Scottsdale Ins. Co. v. MV
  21 Transportation (2005) 36 Cal.4th 643, 654.) “In general, where there is any doubt
  22 as to whether the duty to defend exists, the doubt must be resolved in favor of the
  23 insured and against the insurer.” (Ringler Associates Inc. v. Maryland Cas. Co.
  24 (2000) 80 Cal.App.4th 1165, 1186.) Thus, under the California law, Evanston is
  25 obligated to provide coverage.
  26        4.     Despite the claims made in the Arbitration of bodily injury, Evanston
  27 has refused to provide coverage. MKB therefore brings this action for declaratory
  28 relief, which seeks a declaration that the Policy provides coverage for the

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   1 Arbitration, and that Evanston has a duty to provide for MKB’s defense. MKB also
   2 alleges that Evanston acted in bad faith in denying MKB’s claim. In particular,
   3 given the broad scope of the insurer’s duty to defend, and the allegations made in
   4 the Arbitration, Evanston has no good-faith basis to deny coverage. MKB therefore
   5 also seeks monetary damages, including punitive damages.
   6                                    II.    PARTIES
   7         5.    Plaintiff Manna Kadar Beauty, Inc. is a cosmetics company located in
   8 Irvine, California.
   9         6.    Defendant Evanston Insurance Company is an insurance company that,
  10 on information and belief, is based in Illinois.
  11         7.    Markel Service, Incorporated (“Markel Service”) is a claim service
  12 manager for Evanston Insurance Company and, on information and belief, is
  13 headquartered in Glen Allen, Virginia.
  14                         III.   JURISDICTION AND VENUE
  15         8.    The Court has jurisdictional over this matter. An endorsement to the
  16 Policy provides that, “It is agreed that in the event of the failure of the Company to
  17 pay any amount claimed to be due hereunder, the Company, at the request of the
  18 Named Insured, will submit to the jurisdiction of a court of competent jurisdiction
  19 within the United States and will comply with all requirements necessary to give
  20 such court jurisdiction and all matters arising hereunder shall be determined in
  21 accordance with the law and practice of such court.” Further, the endorsement
  22 states, “Pursuant to Section 1772, et seq., of the California Insurance Code, a surplus
  23 line insurer may be sued upon any cause of action arising in this state under any
  24 surplus line insurance contract made by it, or any evidence of insurance issued or
  25 delivered by the surplus line broker, pursuant to the procedures set forth in Sections
  26 1610 to 1620, inclusive.”
  27         9.    MKB is based in Irvine, California, and this lawsuit relates to an
  28 arbitration currently pending in California.

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   1          10.   Accordingly, this matter is properly before the Orange County Superior
   2 Court.
   3                           IV.   FACTUAL ALLEGATIONS
   4          A.    The Policy
   5          11.   Evanston issued policy number 3AA339942 to MKB (the “Policy”).
   6 The Policy is a Commercial General Liability (“CGL”) policy. Per the declarations
   7 page of the Policy, the Policy has a general aggregate limit of $2,000,000. The
   8 aggregate limit for “Products/Completed Operations” is also $2,000,000. The
   9 policy also provides a $1,000,000 limit for “Personal and Advertising Injury,” and a
  10 limit of $1,000,000 for “Each Occurrence.” The “Common Policy Declarations”
  11 page states that the “Policy Period” is “5/17/2019 to 05/17/2020.”
  12          12.   The Policy provides that the insurer will “pay those sums that the
  13 insured becomes legally obligated to pay as damages because of ‘bodily injury’ or
  14 ‘property damage’ to which this insurance applies.” (CGL Coverage Form at ¶
  15 1(a).) The Policy further provides that the insurer “will have the right and duty to
  16 defend the insured against any ‘suit’ seeking those damages.” (Ibid.)
  17          13.   According to the Manufacturers and Distributors Value Enhancement
  18 endorsement to the Policy, “‘Bodily injury’ means: a. Bodily injury, sickness or
  19 disease sustained by a person, including mental anguish or emotional distress
  20 resulting from any of these; or b. Death resulting from bodily injury, sickness or
  21 disease.”
  22          B.    FFF’s Claims Against MKB in the Arbitration
  23          14.   In the underlying cross-demand for arbitration brought by FFF against
  24 MKB, FFF claims that MKB’s Scrub caused its customers to suffer bodily injuries.
  25          15.   FFF claimed that “[s]everal customers complained about getting rashes
  26 and breaking out in hives.” FFF also insinuated that one of the Scrub’s ingredients
  27 was not “100% safe.”
  28          16.   FFF further claimed that “a number of customers complained about

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   1 getting rashes after applying the” Scrub. According to FFF, its “customers
   2 complained of getting ‘itchy/burning red bumps,’ ‘painful burns,’ ‘chemical-like
   3 burns,’ and breaking out in ‘hives.’”
   4        17.     Although MKB denies FFF’s claims, and insists that the Scrub is a
   5 quality product that has not caused consumer harm, there can be no doubt that FFF
   6 has alleged bodily injuries given the plain language of its counter-demand for
   7 arbitration.
   8        C.      MKB Tenders Its Claim and Evanston Insurance Company
   9                Refuses to Provide Coverage
  10        18.     Through counsel, MKB tendered its claim to Evanston Insurance
  11 Company. Evanston assigned a claim number of C065859, and assigned adjuster
  12 Sanjay Shivpuri to the file. Mr. Shivpuri is a Sr. Claims Examiner who works for
  13 Markel Service, in Deerfield, Illinois.
  14        19.     On or about December 18, 2019, MKB received a “Disclaimer of
  15 Coverage”
  16        20.     The Disclaimer of Coverage stated, “Markel Service, Incorporated, as
  17 claim service manager for Evanston Insurance Company (‘Evanston’),
  18 acknowledges receipt of Counter-Claimant FabFitFun, Inc.’s (‘FabFitFun’) Counter
  19 Demand for: 1) Breach of Contract; and 2) Declaratory Relief (‘Counter-Demand’)
  20 against Manna Kadar Beauty, Inc. (‘Insured’) dated November 19, 2019, pending
  21 before the American Arbitration Association in Action No. 01-19-0003-0245.”
  22        21.     The Disclaimer of Coverage further stated, “Based upon a review of the
  23 Counter-Demand and the policy, Evanston disclaims coverage for the claims
  24 asserted in the Counter-Demand.” Thus, Defendant has improperly refused to
  25 defend against counter-claims alleging bodily injury in the Arbitration.
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   1                          V.     FIRST CLAIM FOR RELIEF
   2                                 (Declaratory Judgment)
   3                  (Against Defendant Evanston Insurance Company)
   4         22.    Plaintiff hereby incorporates by reference paragraphs 1 through 22 of this
   5 First Amended Complaint as though set forth in full herein.
   6         23.    An insurer must defend against a suit even “where the evidence suggests,
   7 but does not conclusively establish, that the loss is not covered.” (Montrose Chemical
   8 Corp. v. Superior Court (1993) 6 Cal.4th 287, 299.)
   9         24.    “Moreover, that the precise causes of action pled by the third party
  10 complaint may fall outside policy coverage does not excuse the duty to defend where,
  11 under the facts alleged, reasonably inferable, or otherwise known, the complaint could
  12 fairly be amended to state a covered liability.” (Scottsdale Ins. Co. v. MV
  13 Transportation (2005) 36 Cal.4th 643, 654.) “If any facts stated or fairly inferable in
  14 the complaint, or otherwise known or discovered by the insurer, suggest a claim
  15 potentially covered by the policy, the insurer’s duty to defend arises and is not
  16 extinguished until the insurer negates all facts suggesting potential coverage.” (Id. at
  17 p. 655.)
  18         25.    “In general, where there is any doubt as to whether the duty to defend
  19 exists, the doubt must be resolved in favor of the insured and against the insurer.”
  20 (Ringler Associates Inc. v. Maryland Cas. Co. (2000) 80 Cal.App.4th 1165, 1186.) In
  21 an action seeking a declaration that an insurer has a duty to defend, “the insured need
  22 only show that the underlying claim may fall within policy coverage; the insurer must
  23 prove it cannot.” (Montrose, supra, 6 Cal.4th at p. 300.)
  24         26.    The Policy provides coverage for claims involving “bodily injury.” The
  25 Policy provides that the insurer will “pay those sums that the insured becomes
  26 legally obligated to pay as damages because of ‘bodily injury’ or ‘property damage’
  27 to which this insurance applies.” (CGL Coverage Form at ¶ 1(a).) The Policy
  28 further provides that the insurer “will have the right and duty to defend the insured

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   1 against any ‘suit’ seeking those damages.” (Ibid.)
   2         27.    The claims asserted by FFF in the underlying counter-demand for
   3 arbitration include bodily injury claims. FFF claimed that “[s]everal customers
   4 complained about getting rashes and breaking out in hives.” FFF further claimed
   5 that “a number of customers complained about getting rashes after applying the”
   6 Scrub. According to FFF, its “customers complained of getting ‘itchy/burning red
   7 bumps,’ ‘painful burns,’ ‘chemical-like burns,’ and breaking out in ‘hives.’”
   8         28.    Accordingly, under the Policy, Defendant has a duty to defend. In
   9 refusing to provide coverage and defense, Defendant has breached that duty. An
  10 actual controversy therefore exists, and MKB is entitled to a judicial declaration of its
  11 rights under the Policy.
  12                         VI.    SECOND CLAIM FOR RELIEF
  13                    (Bad Faith — Unreasonable Failure to Defend)
  14                  (Against Defendant Evanston Insurance Company)
  15         29.    Plaintiff hereby incorporates by reference paragraphs 1 through 29 of this
  16 First Amended Complaint as though set forth in full herein.
  17         30.    MKB was harmed by Defendant’s breach of the obligation of good faith
  18 and fair dealing because Defendant failed to defend MKB in an arbitration that was
  19 brought against it.
  20         31.    MKB was insured under an insurance policy with Defendant, i.e., the
  21 Policy.
  22         32.    An arbitration was brought against MKB, and MKB gave Defendant
  23 timely notice that it was subject to a counter-demand for arbitration.
  24         33.    Defendant unreasonably, that is, without proper cause, failed to defend
  25 MKB against the arbitration.
  26         34.    MKB was harmed, including, without limitation, by having to pay legal
  27 expenses that otherwise would have been paid by Defendant.
  28         35.    Defendant’s conduct was a substantial factor in causing MKB’s harm.

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   1                             VII. PRAYER FOR RELIEF
   2        WHEREFORE, MKB prays that this Court order, adjudge and decree the
   3        following relief:
   4        A.      A judicial declaration that the Policy requires Defendant to advance
   5 costs of defense, including legal fees, to defend against FFF’s claims in the
   6 Arbitration;
   7        B.      Monetary damages resulting from Defendant’s failure to provide
   8 coverage;
   9        C.      Attorneys’ fees and costs of suit; and
  10        D.      For such other and further relief as the Court may deem just and proper.
  11
  12 DATED: May 19, 2021                   GREENBERG GROSS LLP
  13
  14
                                           By:
  15
                                                 Wayne R. Gross
  16                                             Evan C. Borges
  17                                             Deborah S. Mallgrave
                                                 Attorneys for Plaintiff Manna Kadar
  18                                             Beauty, Inc.
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   1                               PROOF OF SERVICE
   2            Manna Kadar Beauty, Inc. v. Evanston Insurance Company
                          Case No. 8:21-cv-00595-JLS-ADS
   3
       STATE OF CALIFORNIA, COUNTY OF ORANGE
   4
            At the time of service, I was over 18 years of age and not a party to this
   5 action. I am employed in the County of Orange, State of California. My business
     address is 650 Town Center Drive, Suite 1700, Costa Mesa, CA 92626.
   6
            On May 19, 2021, I served true copies of the following document(s)
   7 described as FIRST AMENDED COMPLAINT on the interested parties in this
     action as follows:
   8
     Terrence R. McInnis
   9 terrence.mcinnis@troutman.com
     James A. Hazlehurst
  10 james.hazlehurst@troutman.com
     TROUTMAN PEPPER HAMILTON
  11 SANDERS LLP
     5 Park Plaza, Suite 1400
  12 Irvine, CA 92614-2545
     Telephone: 949.622.2700
  13 Facsimile: 949.622.2739
  14
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  15 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  16 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  17
            I declare under penalty of perjury under the laws of the United States of
  18 America that the foregoing is true and correct and that I am employed in the office
     of a member of the bar of this Court at whose direction the service was made.
  19
            Executed on May 19, 2021, at Costa Mesa, California.
  20
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  22                                           Sarah Campbell
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                                       PROOF OF SERVICE
